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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                   :
                                            :        Hon. Dennis M. Cavanaugh
               Plaintiff,                   :
                                            :                 ORDER
                     v.                     :
                                            :        Crim. No. 09-CR-45 (DMC)
MICHAEL BRASSINGTON, PAUL                   :
BRASSINGTON, BRIAN MCKENZIE,                :
JOHN FRANCIS VIEIRA, AND JOHN               :
KIMBERLING,                                 :

               Defendants.



DENNIS M. CAVANAUGH, U.S.D.J.:

       This matter comes before the Court upon motion by Defendant John Kimberling

(“Defendant”) for a stay of the proceedings against him, or a severance from within the proceedings,

on the grounds he is unable to travel for medical reasons After considering the submissions of the

parties, and based upon the Court’s Opinion filed this day;

       IT IS this 26th      day of August, 2010;

       ORDERED Defendant’s motion to stay is denied; and further,

       ORDERED Defendant’s motion to sever is denied.



                                                     S/ Dennis M. Cavanaugh
                                                     Dennis M. Cavanaugh, U.S.D.J.
Original:      Clerk’s Office
cc:            All Counsel of Record
               File
